        Case 1:13-cv-01051-LJO-JLT Document 254 Filed 08/22/16 Page 1 of 4



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8                                   UNITED STATES DISTRICT COURT
9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   TARA GARLICK, et al.,                           )   Case No.: 1:13-cv-01051 - LJO - JLT
                                                     )
12                  Plaintiffs,                      )   ORDER ADOPTING IN FULL THE FINDINGS
                                                     )   AND RECOMMENDATIONS GRANTING
13          v.                                       )   APPROVAL OF THE COMPROMISE ON
                                                     )   BEHALF OF MINOR PLAINTIFFS MLS, CJS,
14   COUNTY OF KERN, et al.,                         )   CRS, AND EZS
                                                     )
15                  Defendants.                      )
                                                     )
16
17          This matter arises out of the death of David Silva which, it is claimed, was caused by the

18   application of excessive and unreasonable use of force by various law enforcement officers. Minor

19   Plaintiffs MLS, CJS, CRS and EZS, are surviving children of the decedent, and seek approval of the

20   settlement reached with Defendants, by and through their guardian ad litem Judy Garlick. (Doc. 238)

21   On July 22, 2016, the magistrate judge recommended the settlement be approved, and the funds

22   distributed as proposed by the parties. (Doc. 245)

23          The parties were given fourteen days to file any objections to the recommendation. (Doc. 245

24   at 7-8) In addition, the parties were “advised that failure to file objections within the specified time

25   may waive the right to appeal the District Court’s order.” (Id. at 8, citing Martinez v. Ylst, 951 F.2d

26   1153 (9th Cir. 1991)). To date, no objections have been filed.

27          In accordance with the provisions of 28 U.S.C. § 636 (b)(1)(C) and Britt v. Simi Valley United

28   School Dist., 708 F.2d 452, 454 (9th Cir. 1983), this Court conducted a de novo review of the case.

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        Case 1:13-cv-01051-LJO-JLT Document 254 Filed 08/22/16 Page 2 of 4



1    Having carefully reviewed the file, the Court finds the Findings and Recommendations are supported

2    by the record and proper analysis.

3           Based upon the foregoing, IT IS HEREBY ORDERED:

4           1.      The Findings and Recommendations dated July 22, 2016 (Doc. 245) are ADOPTED

5                   IN FULL;

6           2.      The petition to approve settlement of the minors’ claims is GRANTED;

7           3.      Defendants, County of Kern and its insurer, Starr Indemnity and Liability Company,

8                   Starr Companies and Defendants State of California and their insurer are DIRECTED

9                   to pay the combined sum of $3,400,000 in consideration of a full and final release and

10                  discharge of and from all claims arising from this action.

11                         The allocation between the defendants of the total overall settlement of the

12                  entire case is $2,992,000.00 to the County of Kern and its insurer, Starr Indemnity and

13                  Liability Company, and $408,000.00 to the State of California. It is agreed that under

14                  no circumstances shall the negotiated contribution and allocation of the overall total

15                  settlement by the defendants exceed these sums;

16          4.      Of the full settlement, that $3,000,000 is directed to settle the claims, charges, and

17                  demands of Plaintiffs MLS, CJS, CRS, EZS and Merri Silva and Chris Silva;

18          5.      From the above settlement money, the defendant County of Kern is DIRECTED to pay

19                  $1,200,000.00—to be paid by Starr Indemnity and Liability Company; Starr

20                  Companies— for the purchase of a annuities on behalf of CJS, CRS, EZS. The parties

21                  SHALL purchase a tax free structured settlement annuity policy from Berkshire

22                  Hathaway Life Insurance Company of Nebraska through broker Tom Stevenson of

23                  Atlas Settlements. The defendants County of Kern, Sgt. Douglas Sword, Deputy Ryan

24                  Greer, Deputy Tanner Miller, Deputy Jeffrey Kelly, Deputy Luis Almanza, Deputy

25                  Brian Brock and Deputy David Stephens shall execute a Settlement Agreement and

26                  Release and execute a “Qualified Assignment” of their obligation to make periodic

27                  payments pursuant thereto in compliance with I.R.C. Section 104(a)(2) and Section

28                  130(c) of the Internal Revenue Code of 1986, as amended. Said assignment shall be

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     Case 1:13-cv-01051-LJO-JLT Document 254 Filed 08/22/16 Page 3 of 4



1             made to BHG Structured Settlements, Inc. (“Assignee”). Upon doing so, the defendants

2             will no longer be obligated to make further periodic payments and the Assignee will be

3             the plaintiffs’ sole obligor with respect to the future periodic payments;

4       6.    The Assignee is DIRECTED to purchase structured settlement annuities for

5             $300,000.00 each for MLS, CJS, CRS, and EZS through Berkshire Hathaway Life

6             Insurance Company of Nebraska. The payments shall be assigned to BHG Structured

7             Settlements, Inc. by way of a Qualified Assignment by the County's Insurer Starr

8             Indemnity and Liability Company, Starr Companies. The payments will be guaranteed

9             through the issuance of a Letter of Guarantee from Berkshire Hathaway Life Insurance

10            Company of Nebraska, assumed under the Qualified Assignment. In accordance with

11            the structured settlement agreement, the Assignee will fund the obligation to make

12            payments through the purchase of annuities from BHG Structured Settlements, Inc.

13            Said annuities shall provide guaranteed periodic payments (subject to annuity rates in

14            effect at the time of purchase);

15      7.    The Assignee is DIRECTED to file receipt of the purchase of the annuities within

16            sixty days of the date of service of this Order;

17      8.    The County Defendants is DIRECTED to pay the sum of $1,440,000.00 to Chain ǀ

18            Cohn ǀ Stiles, Chris Silva and Merri Silva for the payment of attorney fees and costs,

19            and the settlement amount owed to Chris Silva and Merri Silva;

20      9.    The State of California, on behalf of CHP Officers Michael Phillips and Michael Bright

21            is DIRECTED to pay the sum of $360,000.00 to Chain ǀ Cohn ǀ Stiles, Chris Silva and

22            Merri Silva.

23                   Although this required payment is being made at the request of the affected

24            plaintiffs and their counsel, this court recognizes and finds that the State’s required

25            payment provides adequate consideration for settlement of the claims of all requesting

26            plaintiffs, including Plaintiffs MLS, CJS, CRS, EZS, Merri Silva and Chris Silva;

27      10.   Payment to Chain ǀ Cohn ǀ Stiles and the Law Office of Dale K. Galipo in the sum of

28            $1,330,000.00 representing all claims for attorney fees and costs incurred on behalf of

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       Case 1:13-cv-01051-LJO-JLT Document 254 Filed 08/22/16 Page 4 of 4



1               the plaintiffs MLS, CJS, CRS, EZS, Merri Silva and Chris Silva (in the amount of

2               $1,200,000) and costs (in the amount of $130,000), is APPROVED; and

3         11.   The parties SHALL file a stipulation for dismissal of the action with prejudice, and

4               lodge a separate order, within ten days of the date of service of this Order.

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6    IT IS SO ORDERED.

7      Dated:   August 22, 2016                          /s/ Lawrence J. O’Neill _____
8                                              UNITED STATES CHIEF DISTRICT JUDGE

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